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                  IN THE UNITED STATES DISTRICT COURT
              NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: Ross Stewart                             )      Case No.
                                                )
                                                )
      Plaintiff                                 )      COMPLAINT
                                                )
                                                )
v.                                              )      July Demand Requested
                                                )
      Atlantic Credit & Finance Incorporated )
      3111 Camino Del Rey, Suite 103            )
      San Diego, CA 92108                       )
                                                )
      Defendant                                 )
______________________________________________________________________
   Now comes Plaintiff, by and through his attorneys, and, for his Complaint alleges as
                                        follows:

                                        INTRODUCTION

             1. Plaintiff, Ross Stewart, brings this action to secure redress from
                unlawful collection practices engaged in by Defendant, Atlantic Credit
                & Finance Incorporated. Plaintiff allege violation of the Fair Debt
                Collection Practices Act, 15 U.S.C. Section 1692 et seq. (“FDCPA”).
             2. The FDCPA makes clear that within five days of any initial
                communication, a debt collector clearly state who the current creditor
                of the Debtor is. 15 U.S.C. Section 1692g
                                   APPLICABLE CASE LAW
             3. In Janetos vs. Fulton Friedman & Gullace, LLP (No. 15-01859), (7th
                Cir., 2016), the Seventh Circuit Court of Appeals stated if a dunning
                letter fails to disclose the required language in 15 U.S.C. Section
                1692g(a), it violates the FDCPA.
             4. Said case stated “[T]o satisfy Section 1692g(a), the debt collector’s
                notice must state the required information ‘clearly enough that the
                receipient is likely to understand it.’” Id.
             5. If an initial dunning letter fails to disclose the required information
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          clearly, it violates the FDCPA, without further proof of confusion. Id.
                             JURISDICTION AND VENUE
       6. This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
          1367; and 15 U.S.C. section 1692(d).
       7. Venue is proper because a substantial part of the events giving rise to
          this claim occurred in this District.
                             PARTIES
       8. Plaintiff, Ross Stewart (hereinafter “Plaintiff”) incurred an obligation to
          pay money, the primary purpose of which was for personal, family, or
          household uses (the “Debt”).
       9. Plaintiff is a resident of the State of Illinois
       10. Defendant, Atlantic Credit & Finance Incorporated (“Defendant”), is a
          California business entity with an address of 3111 Camino Del Rey,
          Suite 103, San Diego, CA 92108 operating as a collection agency, and
          is a “debt collector” as the term is defined by 15 U.S.C. Section
          1692a(6).
       11. Unless otherwise stated herein, the term “Defendant” shall refer to
          Atlantic Credit & Finance Incorporated..
       12. At some point, the original creditor, transferred this debt to Defendant
          for debt collection.
                                     ALLEGATIONS
       13. The Plaintiff allegedly incurred a financial obligation in the approximate
          amount of $2,317.05 (the “Debt”) to an original creditor (the “Creditor”)
       14. The Debt was purchased, assigned or transferred to Defendant for
          collection, or Defendant was employed by the Creditor to collect to
          Debt.
       15. The Defendant attempted to collect the Debt and, as such, engaged in
          “communications” as defined in 15 U.S.C. Section 1692a(2).
       16. On May 4, 2016, Defendant sent an initial communication to Plaintiff.
          See Exhibit A.
       17. The letter states that the “Original Creditor is “CREDIT ONE BANK,
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          N.A.” and the “Current Creditor” “Midland Funding, LLC (‘MID’).”
       18. Next, the letter states “[P]lease allow this letter to serve as an
          introduction to MID. MID has purchased or was otherwise assigned
          the account (the “Account”) referenced above and it has been placed
          with Atlantic Credit & Finance, Inc. (“Atlantic”) for collection.” See
          Exhibit A.
       19. In the next paragraph, said letter states “[A]ccordingly, Atlantic is
          entitled to be paid the balance due of $2317.05.” See Exhibit A.
       20. Then, on the payment coupon of said letter, it states “[M]ake check or
          money order payable to Atlantic Credit & Finance, Inc.” See Exhibit A.
       21. The above paragraphs are misleading as to who owns this debt and
          who the debt is owed to.
       22. The Seventh Circuit Court of Appeals in Janetos found the word
          “assignee” to confuse the Plaintiff. Id.
       23. This letter gives the unsophisticated consumer (or anyone else for that
          matter) contradictory messages about who the debt is owed to.
       24. Morever, Plaintiff is even more confused about Defendant’s statement
          in paragraph 19 of this Complaint.
       25. Plaintiff reads “entitled” as it being owed to Defendant, but sees Mid as
          the “current creditor” and further sees that this debt was assigned from
          “original creditor.” See Exhibit A
       26. The letter is confusing and unclear who owns Plaintiff’s debt.

                             STANDING AND INJURY

       27. Plaintiff has suffered an injury in fact that is traceable to Defendant's
          conduct and that is likely to be redressed by a favorable decision in
          this matter.
       28. Specifically, Plaintiff suffered a concrete informational injury as a result
          of Defendant's failure to provide truthful information in connection with
          its attempt to collect an alleged debt from Plaintiff.
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       29. The rights and obligations established by section 1692g were
          considered by the Senate at the time of passage to be a “significant
          feature” of the Act. “This provision [section 1692g] will eliminate the
          recurring problem of collectors dunning the wrong person or attempting
          to collect debts which the consumer has already paid.”
                                         reprinted in
       30. The Plaintiff has suffered and continues to suffer actual damages as a
          result of the Defendant’s unlawful conduct.
       31. As a direct consequence of the Defendant’s acts, practices and
          conduct, the Plaintiff suffered and continues to suffer from humiliation,
          anger, anxiety, and frustration.
VIOLATIONS OF THE FDCPA-15 U.S.C. SECTION 1692, et seq.
       32. The Plaintiff incorporates by reference all of the above paragraphs of
          this Complaint as though fully stated herein.
       33. The Defendant’s conduct violated 15 U.S.C. Section 1692g(a) by not
          stating clearly who the creditor was on this matter.
                                    JURY DEMAND
       34. Plaintiff demands a trial by jury.
                                    PRAYER FOR RELIEF
       35. Plaintiff demands the following relief:
       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                                     Respectfully submitted,
                                                /s/ John Carlin__________________
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